     Case 4:21-cv-00141 Document 54 Filed on 11/09/21 in TXSD Page 1 of 3




                                                                    United States District Court
                           UNITED STATES DISTRICT COURT               Southern District of Texas
                        FOR THE SOUTHERN DISTRICT OF TEXAS               ENTERED
                                 HOUSTON DIVISION                    November 09, 2021
CAROLE BETH SHINE, Independent             §
                                                                      Nathan Ochsner, Clerk

Executor of the Estate of David L. Minchen §
Plaintiff                                  §
                                           §
v.                                         §    CIVIL ACTION NO. 4:21-cv-00141
                                           §
LINCOLN NATIONAL LIFE                      §
INSURANCE COMPANY &                        §
NEW YORK LIFE INSURANCE &                  §
ANNUITY CORPORATION,                       §
Defendants                                 §
NEW YORK LIFE INSURANCE &                  §
ANNUITY CORPORATION,                       §
Counter Plaintiff & Third-Party Plaintiff  §
                                           §
V.                                         §
                                           §
CAROL BETH SHINE, as Independent           §
Executor of the Estate of David L. Minchen §
Counter-Defendant                          §
                                           §
&                                          §
                                           §
CAROLE BETH SHINE, Individually            §
FIDELITY INVESTMENTS                       §
CHARITABLE ACCOUNT a/k/a                   §
FIDELITY CHARITABLE ACCOUNT                §
#xxx2979 a/k/a FIDELITY CHARITABLE §
GIFT FUND #xxx2979,                        §
SERVANT GROUP INTERNATIONAL, §
COMMISSION TO EVERY NATION,                §
PERSECUTION PROJECT                        §
FOUNDATION,                                §
INTERNATIONAL MESSENGERS,                  §
INTERNATIONAL CHRISTIAN                    §
CONCERN                                    §
Third-Party Defendants                     §

                               AGREED FINAL JUDGMENT




MIN306513.000
4845-0161-4332, V. 2
     Case 4:21-cv-00141 Document 54 Filed on 11/09/21 in TXSD Page 2 of 3




         On this day, (1) Carole Beth Chine, Individually and as Independent Executor of the

Estate of David Minchen, Deceased, (2) Persecution Project Foundation, (3) International

Messengers, (4) International Christian Concern, (5) Servant Group International, (6)

Commission to Every Nation, and (7) Fidelity Investments Charitable Gift Fund (the

"Remaining Parties") appeared before the Court and announced they had reached a settlement in

this cause.
        1.        On May 10, 2021, New York Life Insurance and Annuity Company (NYLIAC)

deposited $390,844 into the registry ofthe Court (Receipt No. HOU102123).

         2.       On May 10, 2021, NYLIAC deposited $484,834.63 into the registry of the Court

(Receipt No. HOU102124).

         3.       On May 12, 2021, the Court dismissed NYLIAC from this cause with prejudice.

(Document No. 43).

         4.       On May 18, 2021, Lincoln National Life Insurance Company deposited

$1,829,594.77 into the registry ofthe Court (Receipt No. 102267).

         5.       On June 7, 2021, the Court dismissed Lincoln National from this cause with

prejudice. (Document No. 49).

         6.       The Remaining Parties have resolved their disputes and entered into a Settlement

Agreement providing for the distribution ofthe funds as reflected in the orders below.

         7.       Accordingly, it is ORDERED that the funds currently on deposit in the Registry

ofthe Court, including accrued interest, ifany, shall be distributed and paid as follows:




MIN306513.000
4845-0161-4332, V. 2
     Case 4:21-cv-00141 Document 54 Filed on 11/09/21 in TXSD Page 3 of 3




                                               AMOUNT OR SHARE TO
                   PARTY                         BE DISTRIBUTED      PAYABLE TO:
 Carole Beth Shine, Individually and as             $637,500.00   Dinkins, Kelly, Lenox,
 Independent Executor of the Estate of David                      Lamb & Walker LLP
 L. Minchen, Deceased,                                            IOLTA
 care of
 Dinkins, Kelly, Lenox, Lamb & Walker LLP
 2500 East T.C. Jester Blvd. Ste. 675
 Houston, TX 77008

 International Messengers                       3/5 of the funds remaining     Ford+Bergner IOLTA
 Persecution Project Foundation                   after the distribution to
 International Christian Concern,              Carole Shine, plus 3/5 of the
 care of                                              accrued interest
 Ford +Bergner
 700 Louisiana Street 48th Floor
 Houston, Texas 77002

 Servant Group International                    2/5 of the funds remaining     Horrigan, Goehrs,
 Commission to Every Nation,                      after the distribution to    Edwards & Culp
 care of                                       Carole Shine, plus 2/5 of the   IOLTA
 Horrigan, Goehrs, Edward & Culp, L.L.P.              accrued interest
                                                                                             !,
 1401 Truxillo St.
 Houston, TX 77004



         8.       It is FURTHER ORDERED that, after the distribution of the funds in accordance

with this Order, all claims in this suit are dismissed with prejudice.

         9.       It is FURTHER ORDERED that, pursuant to their Settlement Agreement, all

parties shall bear their own attorneys' fees, expenses, and costs.

         10.      This is a FINAL JUDGMENT. All relief not expressly granted is denied.



Signed on     --��_e,v
                   __     •-1-----'         at Houston, Texas.




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                                                   United States District Judge




MIN306513.000
4845-0161-4332, V. 2
